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oRIGn IN THE UNITED STATES DISTRICT COURT ,..,

FOR THE NORTHERN DISTRICT OF TEXAS '' 72. ANOS]

DALLAS DIVISION
SEPUTY cute UE
UNITED STATES OF AMERICA, g-1 QUr: g5578

Plaintiff,
Vv. Civil Action No.

CESAR B. PENA RODRIGUEZ, M.D.; and | FILED UNDER SEAL
LEOVARES A. MENDEZ, M.D.,

 

Defendants.

COMPLAINT

Plaintiff, the United States of America, by its undersigned counsel, alleges as
follows:

1, The current opioid epidemic is a national public health emergency affecting
citizens across the Northern District of Texas. Certain physicians exacerbate this crisis
by dispensing and distributing controlled substances—including opioids, non-opioid
prescription painkillers, and other prescription medication—without any legitimate
medical purpose and outside the usual course of professional practice. By abusing their
prescription-writing privileges, these health care providers are not only contributing to
the opioid crisis and unlawfully practicing medicine, but are violating the Controlled
Substances Act (“CSA”).

2. Cesar B. Pena Rodriguez, M.D., and Leovares A. Mendez, M.D.,

(collectively, “Defendants”) have fueled and profited from the opioid epidemic.

Complaint — Page 1
Defendants have systemically issued thousands of prescriptions for powerful opioids and
other prescription drugs without apparent regard for patient harm. Defendants’
prescriptions were often for a combination of an opioid, a benzodiazepine, and a muscle
relaxer—a dangerous drug cocktail known as a “trinity,” which is widely-known in the
medical profession for posing serious health risks when ingested and for being frequently
abused by opioid addicts. In the course of their reckless prescription-writing practices,
Defendants have issued numerous prescriptions for highly-addictive pain killers and other
controlled substances—including “trinity” prescriptions—without medical justification in
exchange for cash payments. Defendants’ medically unjustified sale of such
prescriptions plainly crossed the legal divide from lawfully practicing medicine to
violating the CSA.
I. Jurisdiction and Venue

3. This action is brought by the United States under the CSA, 21 U.S.C.
§§ 801-971.

4, This Court has subject matter jurisdiction over the CSA claims under 21
U.S.C. §§ 842(c)(1)(A) and 882(a), and 28 U.S.C. §§ 1345 and 1355.

5. Venue is proper in the Northern District of Texas as to the CSA claims
under 21 U.S.C. § 843(f)(2) and 28 U.S.C. §§ 1391(b) and 1395(a) because Defendants
are located, reside, and do business in this district, and a substantial part of the events or
omissions giving rise to the claims occurred in this district.

IL. Parties

6. Plaintiff is the United States of America.

Complaint — Page 2
7. Defendant Cesar B. Pena Rodriguez, M.D., is a Texas resident. At all times
relevant to this complaint, Dr. Pena Rodriguez was, and is currently, licensed to practice
in Texas as a doctor of medicine, with a primary practice area of internal medicine.

8. Defendant Leovares A. Mendez, M.D., is a Texas resident. At all times
relevant to this complaint, Dr. Mendez was, and is currently, licensed to practice in Texas
as a doctor of medicine, with a primary practice area of internal medicine.

Hl. The Controlled Substances Act

9. The CSA and its implementing regulations govern the manufacture,
distribution, and dispensation of controlled substances in the United States. From the
outset, Congress recognized the importance of preventing the diversion of drugs from
legitimate to illegitimate uses. The CSA accordingly establishes a regulatory system
under which it is unlawful to manufacture, distribute, dispense, or possess any controlled
substance except in a manner authorized by the CSA.

A. Drug Schedules.

10. The CSA categorizes controlled substances in five schedules.

11. Schedule II contains drugs with a “high potential for abuse” that “may lead
to severe psychological or physical dependence” but nonetheless have a “currently
accepted medical use in treatment.” 21 U.S.C. § 812(b)(2). The following drugs are
currently listed in Schedule II:

a. Hydrocodone (with brand names including Vicodin®, Norco®, and
Lortab®), a narcotic analgesic prescribed for the management of

moderate to severe pain (21 C.F.R. § 1308.12(b)(1)(vi)); and

Complaint — Page 3
. Oxycodone (with brand names including OxyContin®, Percocet®,

Percodan®, and Roxicodone®), an opioid narcotic most commonly
prescribed for the management of moderate to severe pain, chronic
pain syndromes, and terminal cancers (21 C.F.R.

§ 1308.12(b)(1)(xiii)).

12. Schedule III contains drugs that have a lower potential for abuse than drugs

on Schedule IJ, but that still may lead to “moderate or low physical dependence or high

psychological dependence.” 21 U.S.C. § 812(b)(3). Schedule III drugs also have “a

currently accepted medical use in treatment.” Jd.

13. Schedule IV contains drugs that have a lower potential for abuse than drugs

on Schedules I-III, but that still may lead to “limited physical dependence or

psychological dependence.” 21 U.S.C. § 812(b)(4). The following drugs are currently

listed on Schedule IV:

Complaint — Page 4

Alprazolam (with brand names including Xanax®, Alprazolam
Intensol®, Xanax® XR, and Niravam®), a short-acting
benzodiazepine prescribed for the management of anxiety,

depression, and panic disorders (21 C.F.R. § 1308.14(c)(2));

. Carisoprodol (marketed under the brand names Soma® and

Vanadom®), a muscle relaxer used to treat muscle pain or spasms
(21 C.F.R. § 1308.14(c)(6)); and
Tramadol (with brand names including Ultram®, Conzip®, Rybix®

ODT, and Ultram® ER), an opioid analgesic prescribed for
management of moderate to severe pain (21 C.F.R. § 1308.14(b)(3)).

14. Schedule V contains drugs that have a low potential for abuse relative to
drugs categorized in Schedule IV, but may still lead to “limited physical dependence or
psychological dependence.” 21 U.S.C. § 812(b)(5). The following drug is currently
listed on Schedule V:

a. Codeine with promethazine (marketed under the brand name
Phenergan® with codeine), a narcotic medication used to treat
symptoms caused by the common cold, flu, allergies, or similar
respiratory illnesses (21 C.F.R. § 1308.15(c)(1)).
B. CSA Physician Registration Requirements.

15. The CSA requires physicians who issue prescriptions to register with the
United States Drug Enforcement Administration (“DEA”). See 21 U.S.C. § 822(a)(2). A
physician who receives a DEA registration may only dispense or distribute controlled
substances “to the extent authorized by their registration and in conformity with” the
CSA. 21 U.S.C. § 822(b).

16. Similarly, the CSA only authorizes the prescription of controlled substances
by a practitioner who is both: (1) authorized to prescribe controlled substances by the
jurisdiction in which the practitioner is licensed, and (2) registered with DEA. 21 U.S.C.
§ 822(a)(2); 21 C.F.R. § 1306.03(a).

C. CSA Drug Distribution Requirements.
17. Schedule II controlled substances may not be dispensed without a

prescription of a practitioner, such as a physician, unless dispensed directly by a

Complaint — Page 5
practitioner (other than a pharmacist) to an ultimate user. 21 U.S.C. § 829(a).

18. Schedule III or IV controlled substances may not be dispensed without a
prescription of a practitioner, such as a physician, unless dispensed directly by a
practitioner (other than a pharmacist) to an ultimate user. 21 U.S.C. § 829(b).

19. Schedule V controlled substances may not be distributed or dispensed other
than for a medical purpose. 21 U.S.C. § 829(c).

D. Requirements for Valid Prescriptions under the CSA.

20. A prescription (written or oral) is legally valid under the CSA only if it is:
(1) issued for “a legitimate medical purpose” and (2) issued by a practitioner “acting in the
usual course of his professional practice.” 21 C.F.R. § 1306.04(a).

21. Ifan order prescribing controlled substances is not issued “in the usual
course of professional treatment,” it is not deemed a valid prescription under the CSA.
See 21 US.C. § 829; 21 C.F.R. § 1306.04(a). The person issuing such an order “shall be
subject to the penalties provided for violations of the provisions of law relating to
controlled substances.” 21 C.F.R. § 1306.04(a) (internal punctuation omitted).

22. “The responsibility for the proper prescribing and dispensing of controlled
substances is upon the prescribing practitioner.” 21 C.F.R. § 1306.04(a).

IV. Facts

23. Since 2011, Defendants have jointly operated Cumbre Medical Center,
LLC, d/b/a Cumbre Medical Center (“Cumbre”), located at 710 E. Centerville Road,
Garland, Texas 75041.

24. Defendants are listed as officers and Dr. Mendez as the registered agent for

Complaint — Page 6
Cumbre Medical Center, LLC, in corporate filings with the Texas Secretary of State.

25. The DEA has investigated the prescription practices of Defendants, and
obtained the prescription records for both doctors from the Prescription Monitoring
Program (“PMP”) database maintained by the Texas State Board of Pharmacy. These
records provided the prescription history for Dr. Pena Rodriguez and Dr. Mendez from
May 2014 until March 2019. The PMP data shows that both Defendants have issued
numerous prescriptions for various controlled substances in significant quantities and
often in specific combinations monitored by the DEA. The scope and circumstances of
Defendants’ prescription-writing practices raise multiple warning signs or “red flags” that
the DEA considers indicative of prescription drug abuse and diversion.

26. The DEA investigation also involved completing 25 separate visits to the
doctors by undercover agents posing as patients. In 24 of these visits, despite minimal
physical or medical evaluations by either doctor, the undercover agent received at least
one prescription for a controlled substance.

27. Dr. Pena Rodriguez and Dr. Mendez violated the CSA by issuing
prescriptions that had no legitimate medical purpose and fell outside the usual course of
professional medical practice.

A. Prescriptions for Specific Combinations of Controlled Substances.

28. As part of the DEA’s opioid investigations, the agency evaluates whether a
provider has prescribed a specific combination of controlled substances that are often
taken together by users addicted to opioids because the combination of the three drugs

mimics the effects of heroin. As mentioned above, this combination includes an opioid, a

Complaint — Page 7

 
short-acting benzodiazepine, and a muscle relaxer, which, when prescribed together, is
generally referred to as a “trinity.”

29. Nationally, this combination often appears in two forms: first, the “Trinity,”
which consists of hydrocodone, alprazolam, and carisoprodol; and second, the “Holy
Trinity,” which consists of oxycodone, alprazolam, and carisoprodol.

30. In Texas, a slightly-modified combination of these controlled substances,
called the “Texas Trinity,” is also found. One common version of the “Texas Trinity”
consists of hydrocodone, alprazolam, and codeine with promethazine.

31. There is no medical basis for the simultaneous prescription of any version
of the three “trinity” drugs. In fact, the significant danger resulting from concurrently
ingesting an opioid and a benzodiazepine—as well as an opioid, a benzodiazepine, and a
muscle relaxer—is well documented in peer-reviewed medical literature.

32. As part of this investigation, DEA evaluated the PMP data for Dr. Pena
Rodriguez and Dr. Mendez. The PMP data indicates that both doctors prescribe a high
volume of the controlled substances that make up various versions of a “trinity,” and
often prescribe these substances in combination.

1. Dr. Pena Rodriguez’s Prescription History.

33. Atall times relevant to this complaint, Dr. Pena Rodriguez was registered
with DEA under registration number BP5688900. From January 2012 through the
present, Dr. Pena Rodriguez’s DEA-registered practice location was 710 E. Centerville
Road, Garland, Texas 75041, which is Cumbre’s location.

34. Based on data from the PMP database, Dr. Pena Rodriguez frequently

Complaint — Page 8

 
 

prescribed the “Trinity” (hydrocodone, alprazolam, and carisoprodol) to his patients.
Between May 1, 2014 and March 18, 2019, Dr. Pena Rodriguez prescribed the “Trinity”
221 times to 19 individuals.

35. Additionally, between May 1, 2014 and March 18, 2019, Dr. Pena
Rodriguez wrote prescriptions for two of the three “Trinity” drugs (hydrocodone,
alprazolam, and carisoprodol) in combination 835 times to 127 individuals.

36. In fact, Dr. Pena Rodriguez prescribed the three drugs that make up any
version of the “trinity” (any opioid, short-acting benzodiazepine, and muscle relaxer) 222
times to 19 individuals between May 1, 2014 and March 18, 2019.

2. Dr. Mendez’s Prescription History.

37.  Atall times relevant to this complaint, Dr. Mendez was registered with
DEA under registration number BM6560177. From January 2012 through the present,
Dr. Mendez’s DEA-registered practice location was 710 E. Centerville Road, Garland,
Texas 75041, which is Cumbre’s location.

38. Based on data from the PMP database, Dr. Mendez frequently prescribed
both the “Trinity” (hydrocodone, alprazolam, and carisoprodol) and the “Holy Trinity”
(oxycodone, alprazolam, and carisoprodol) to his patients. Between May 1, 2014 and
March 18, 2019, Dr. Mendez prescribed the “Trinity” 193 times to 16 individuals.
During this same time period, he prescribed the “Holy Trinity” five times to one
individual.

39. Additionally, between May 1, 2014 and March 18, 2019, Dr. Mendez wrote

prescriptions for two of the three “Trinity” drugs (hydrocodone, alprazolam, and

Complaint — Page 9
 

carisoprodol) in combination 1,928 times to 218 individuals.

40. In fact, Dr. Mendez prescribed the three drugs that make up any version of
the “trinity” (any opioid, short-acting benzodiazepine, and muscle relaxer) 251 times to
19 individuals between May 1, 2014 and March 18, 2019.

B. Prescriptions of Controlled Substances to Undercover Agents.

41. The DEA investigated the prescription practices of Defendants by
performing multiple undercover visits to each doctor. In total, the undercover agents
visited the doctors on 25 separate occasions.' During each visit, Defendants performed
perfunctory (at best) physical examinations of the agent, and spent only a few minutes
with the agent—occasionally failing to see the agent at all. Despite the minimal
evaluation of the “patients,” at nearly every single visit, Defendants issued prescriptions
to each undercover agent for at least one controlled substance in exchange for cash
payments.

1. Undercover Officer Visits to Dr. Pena Rodriguez.

a. Undercover Officer #1.

42. Between May 2017 and March 2018, Undercover Officer #1 (“UC-1”),
who worked for the Garland Police Department, headquartered in Garland, Texas, visited
Cumbre on six occasions to meet with Dr. Pena Rodriguez in order to obtain

prescriptions for painkillers and other controlled substances, including hydrocodone,

 

' As described in greater detail below, 16 of these visits were with Dr. Pena Rodriguez, and nine were
with Dr. Mendez.

Complaint — Page 10
alprazolam, and tramadol.* UC-1 recorded each of UC-1’s visits with Dr. Pena
Rodriguez.

43. During these visits, Dr. Pena Rodriguez never performed any physical
examination of UC-1, never asked about UC-1’s medical history, never asked why UC-1
had requested pain medication, and never asked whether UC-1 had tried alternative
treatments to pain medication. On two occasions, Dr. Pena Rodriguez did not even
personally see UC-1 to evaluate him and simply gave his physician’s assistant prefilled
prescriptions to distribute to UC-1. Each of UC-1’s visits lasted no more than a few
minutes. Despite these minimal interactions, Dr. Pena Rodriguez prescribed controlled
substances to UC-1 during nearly each visit in exchange for a payment of $250 cash at

the end of the visit, as described in Table 1 below:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Agent Prescriber Pane of Hydrocodone | Alprazolam Tramadol

UC-1 ena S/11/17 | 60tablets | 30 tablets N/A
Rodriguez

Pena

UC-1 : 6/13/17 60 tablets 30 tablets N/A
Rodriguez

UC-1 Pen a TATAT 60 tablets 30 tablets 60 tablets
Rodriguez

UC-1 Pena 9/21/17 60 tablets | 30tablets | 60 tablets
Rodriguez

UC-1 Pena 1/9/18 60 tablets | 30tablets | 60 tablets
Rodriguez

UC-1 Pena 3/7/18 60 tablets | 30tablets | 60 tablets
Rodriguez

 

Table 1: Dr. Pena Rodriguez’s Controlled Substance Prescriptions to UC-1
May 2017- March 2018

 

* UC-1 also visited Cumbre on February 20, 2019, but was not prescribed any controlled substances at
this visit.

Complaint — Page 11

 
44. Dr. Pena Rodriguez unlawfully distributed and dispensed each of the
controlled substances listed in Table 1 above to UC-1.

45. Each of the controlled substances listed in Table 1 is a prescription drug
under the Federal Food, Drug, and Cosmetic Act (“FDCA”).

46. Each of the prescriptions issued by Dr. Pena Rodriguez to UC-1 listed in
Table | was issued without a legitimate medical purpose and outside the usual course of
professional practice in violation of 21 USS.C. § 829, 21 U.S.C. § 842(a)(1), and 21
C.F.R. § 1306.04(a).

b. Undercover Officer #2.

47. Between June 2017 and March 2018, Undercover Officer #2 (“UC-2”), a
DEA Task Force Officer, visited Cumbre on five occasions to meet with Dr. Pena
Rodriguez in order to obtain prescriptions for painkillers and other controlled substances,
including hydrocodone, alprazolam, tramadol, and codeine with promethazine. UC-2
recorded each of UC-2’s visits with Dr. Pena Rodriguez.

48. During these visits, Dr. Pena Rodriguez failed to perform any physical
examination of UC-2, never asked about UC-2’s statements about prior use of another
individual’s hydrocodone, and never questioned UC-2’s requests for prescriptions of
additional controlled substances. Each of these visits lasted no more than a few minutes.
On two occasions, Dr. Pena Rodriguez did not even enter UC-2’s examination room, but
instead completed refill prescription forms in advance for his staff to provide to UC-2.
Despite these minimal interactions, Dr. Pena Rodriguez prescribed controlled substances

to UC-2 during each visit in exchange for a payment of $250 cash at the end of the visit,

Complaint — Page 12

 
as described in Table 2 below:

 

 

 

 

 

 

 

Agent | Prescriber Pate of Hydrocodone | Alprazolam | Tramadol Pre en ae

UC-2 Pena | 6/13/17 | 60 tablets | 30 tablets N/A N/A
Rodriguez

UC-2 Pena | 717/17 | 60 tablets | 30tablets | 60 tablets N/A
Rodriguez

uc2 |. Pem4 | oni7 | 6otablets | 30tablets | 60 tablets 240 ml
Rodriguez

UC-2 Pena 1/9/18 60 tablets 30 tablets | 60 tablets 240 ml
Rodriguez

uc2 |. P4 | 3718 | 6otablets | 30tablets | 60 tablets 240 ml
Rodriguez

 

 

 

 

 

 

 

Table 2: Dr. Pena Rodriguez’s Controlled Substance Prescriptions to UC-2
June 2017— March 2018

49. Dr. Pena Rodriguez unlawfully distributed and dispensed each of the
controlled substances listed in Table 2 to UC-2.

50. Each of the controlled substances listed in Table 2 is a prescription drug
under the FDCA.

51. Each of the prescriptions issued by Dr. Pena Rodriguez to UC-2 listed in
Table 2 was issued without a legitimate medical purpose and outside the usual course of
professional practice in violation of 21 U.S.C. § 829, 21 U.S.C. § 842(a)(1), and 21
C.F.R. § 1306.04(a).

c. Undercover Officer #3.

52. Between August 2017 and March 2018, Undercover Officer #3 (“UC-3”), a
DEA Task Force Officer, visited Cumbre on four occasions to meet with Dr. Pena
Rodriguez in order to obtain prescriptions for painkillers and other controlled substances,
including hydrocodone, alprazolam, and tramadol. UC-3 recorded each of UC-3’s visits

with Dr. Pena Rodriguez.

Complaint — Page 13

 
 

53. During these visits, Dr. Pena Rodriguez did not perform any physical
examination of UC-3 beyond checking UC-3’s blood pressure, and did not ask questions
about UC-3’s medical history except in regard to the high blood pressure readings. Each
of these visits lasted no more than a few minutes. On one occasion, Dr. Pena Rodriguez
did not even see UC-3, but instead completed refill prescription forms in advance for his
staff to provide to UC-3. Despite these minimal interactions, Dr. Pena Rodriguez
prescribed controlled substances to UC-3 during each visit in exchange for a cash

payment? at the end of the visit, as described in Table 3 below:

 

 

 

 

 

 

 

 

 

Agent Prescriber Parco Hydrocodone | Alprazolam | Tramadol
UC-3 Pena 8/10/17 60 tablets 30 tablets N/A
Rodriguez
Pena
UC-3 . 9/21/17 60 tablets 30 tablets N/A
Rodriguez
Pena
UC-3 . 1/9/18 60 tablets 30 tablets N/A
Rodriguez
Pena
UC-3 . 3/7/18 60 tablets 30 tablets 60 tablets
Rodriguez

 

 

 

 

Table 3: Dr. Pena Rodriguez’s Controlled Substance Prescriptions to UC-3
August 2017— March 2018

54. Dr. Pena Rodriguez unlawfully distributed and dispensed the controlled
substances listed in Table 3 to UC-3.

55. Each of the controlled substances listed in Table 3 is a prescription drug

under the FDCA.

56. Each of the prescriptions issued by Dr. Pena Rodriguez to UC-3 listed in

 

At UC-3’s first visit with Dr. Pena Rodriguez on August 10, 2017, UC-3 was only charged $200. At all
subsequent visits, UC-3 was charged $250.

Complaint — Page 14
Table 3 was issued without a legitimate medical purpose and outside the usual course of
professional practice in violation of 21 U.S.C. § 829, 21 U.S.C. § 842(a)(1), and 21

C.F.R. § 1306.04(a).

2. Undercover Officer Visits to Dr. Mendez.
a. Undercover Officer #4.

57. Between June 2017 and March 2018, Undercover Officer #4 (“UC-4”), a
DEA Task Force Officer, visited Cumbre on five occasions to meet with Dr. Mendez in
order to obtain prescriptions for painkillers and other controlled substances, including
hydrocodone and alprazolam. UC-4 recorded each of UC-4’s visits with Dr. Mendez.

58. During each visit, Dr. Mendez performed little to no physical or medical
examination of UC-4. Dr. Mendez checked UC-4’s breathing and heart rate through use
of a stethoscope, but did not perform any other physical examination of UC-4. Dr.
Mendez also ignored comments by UC-4 regarding separate indications of medical
problems, such as circulatory issues, which would not be addressed by the controlled
substances Dr. Mendez prescribed. Each of UC-4’s visits lasted no more than a few
minutes. Despite these minimal interactions, Dr. Mendez prescribed controlled
substances to UC-4 during each visit in exchange for a payment of $250 cash at the end

of the visit, as described in Table 4 below:

Complaint — Page 15
 

 

 

 

 

 

Agent Prescriber Pate ot Hydrocodone | Alprazolam
UC-4 Mendez 6/7/17 90 tablets N/A
UC-4 Mendez 8/4/17 90 tablets 30 tablets
UC-4 Mendez 9/28/17 90 tablets 30 tablets
UC-4 Mendez 1/9/18 90 tablets 30 tablets
UC-4 Mendez 3/8/18 90 tablets 30 tablets

 

 

 

 

 

 

 

Table 4: Dr. Mendez’s Controlled Substance Prescriptions to UC-4
June 2017— March 2018

59. Dr. Mendez unlawfully distributed and dispensed the controlled substances
listed in Table 4 to UC-4.

60. Each of the controlled substances listed in Table 4 is a prescription drug
under the FDCA.

61. Each of the prescriptions issued by Dr. Mendez to UC-4 listed in Table 4
was issued without a legitimate medical purpose and outside the usual course of
professional practice in violation of 21 U.S.C. § 829, 21 U.S.C. § 842(a)(1), and 21
C.F.R. § 1306.04(a).

b. Undercover Officer #5.

62. Between August 2017 and February 2019, Undercover Officer #5 (“UC-
5”), who worked for the Garland Police Department, headquartered in Garland, Texas,
visited Cumbre on four occasions to meet with Dr. Mendez in order to obtain
prescriptions for painkillers and other controlled substances, including hydrocodone and
alprazolam. UC-5 recorded each of UC-5’s visits with Dr. Mendez.

63. During each visit, Dr. Mendez performed little to no physical or medical
examination of UC-5. On UC-5’s initial visit to Dr. Mendez, the doctor insisted on

taking x-rays of the officer’s back for UC-5’s medical file, even though the officer

Complaint — Page 16
repeatedly said UC-5 currently had no back pain, did not indicate UC-5 had a history of
back pain, and repeatedly said UC-5 felt no pain when asked by Dr. Mendez if various
spots on UC-5’s back hurt during a physical examination. On subsequent visits, Dr.
Mendez performed only minimal physical examinations of UC-5. Dr. Mendez never
asked whether UC-5 had tried alternative treatments to pain medication. Each of UC-5’s
visits lasted no more than a few minutes. Despite these minimal interactions, Dr. Mendez
prescribed controlled substances to UC-5 during each visit in exchange for a payment of

$250 cash at the end of the visit, as described in Table 5 below:

 

 

 

 

 

 

 

 

 

 

 

Agent Prescriber Pate of Hydrocodone | Alprazolam
UC-5 Mendez 9/28/17 90 tablets N/A
UC-5 Mendez 1/9/18 90 tablets N/A
UC-5 Mendez 3/8/18 90 tablets 30 tablets
UC-5 Mendez 2/20/19 90 tablets 30 tablets

 

Table 5: Dr. Mendez’s Controlled Substance Prescriptions to UC-5
September 2017— February 2019

64. Dr. Mendez unlawfully distributed and dispensed the controlled substances

listed in Table 5 to UC-S.

65. Each of the controlled substances listed in Table 5 is a prescription drug

under the FDCA.
66. Each of the prescriptions issued by Dr. Mendez to UC-S listed in Table 5

was issued without a legitimate medical purpose and outside the usual course of

professional practice in violation of 21 U.S.C. § 829, 21 U.S.C. § 842(a)(1), and 21

CER. § 1306.04(a).

Complaint — Page 17
Count I
Unlawful Prescribing of Controlled Substances:
21 U.S.C. §§ 829, 842(a)(1), 842(c)(1)(A)
Civil Penalties
(Both Defendants)

67. The United States repeats and realleges Paragraphs | through 66 as if fully
set forth herein.

68. Defendants issued prescriptions without a legitimate medical purpose and
outside the usual course of professional practice in violation of 21 U.S.C. §§ 829(a)-(c),
21 U.S.C. § 842(a)(1), and 21 C.F.R. § 1306.04.

69. Asaresult of the foregoing, Defendants are liable to the United States for a
civil penalty in the amount of not more than $64,820 for each violation pursuant to 21
U.S.C. § 842(c)(1)(A) and 28 C.F.R. § 85.5.

Count Il

Unlawful Prescribing of Controlled Substances:
21 U.S.C. §§ 843(f), 882(a)

Injunctive Relief
(Both Defendants)

70. | The United States repeats and realleges Paragraphs | through 69 as if fully
set forth herein.
71. + Asaresult of the violations set forth above in Count I, Defendants are
liable for injunctive relief pursuant to 21 U.S.C. §§ 843(f) and 882(a).
Request for Jury Trial
72. The United States hereby request a trial by jury to the extent authorized by

law.

Complaint — Page 18
PRAYER FOR RELIEF

WHEREFORE, the United States respectfully requests that judgment be entered in
its favor and against Defendants jointly and severally as follows:

A. On the First Count, impose a civil penalty on each Defendant of not more
than $64,820 for each and every violation of 21 U.S.C. §§ 829 and 842(a)(1) committed
by each Defendant; and

B. On the Second Count, order appropriate injunctive relief pursuant to 21

U.S.C. §§ 843(f) and 882(a).

Complaint — Page 19
Complaint — Page 20

Respectfully submitted,

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America

 
  

 

 

 

 

 

 

 

 

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The JS 44 civil cover s e G 1 herein neither replace nor suq pieme t the filing and service of pleadings or other papers as required by law, except as
provided by local rules ofCoutt. "Mis S appre Judicial Cogference of the{United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEEVINSTRUCTI Be. THIS FORM.)
I. (a) PLAINTIFFS te DEFENDANTS
United States of America CLERK US. DISTRICT CouRT | Fesat B. Pena Rodriguez, M.D.; Leovares A. Mendez, M.D.
NORTHERN DISTRICT OF TEXAG
(b) County of Residence of First Listed Plaintiff County of Residence of First Listed Defendant _ Dallas
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(¢) Attorneys (Firm Name, Address, and Telephone Number) Attomeys (Jf Known)
Sarah Delaney and Lindsey Beran, Assistant U.S. Attorneys; U.S. Attorney's

Office, 1100 Commerce Street, Suite 300; Dallas, TX 75242; 214-659-8600 8 - } 9 CVl 0 5 5 = Ss

 

 

 

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
&HK1 U.S. Government 03 Federal Question PTF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State ol © 1 Incorporated or Principal Place o4 aq4
of Business In This State
112 US. Government O04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place os O85
Defendant (Indicate Citizenship of Parties in Item II} of Business In Another State
Citizen or Subject of a O03 OQ 3 Foreign Nation o6 O6
Foreign Country

 

 

 

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ONTRACT TORTS _ FORFEITURE/PENALTY. |:
0 110 Insurance PERSONAL INJURY PERSONAL INJURY  |(J 625 Dmg Related Seizure
© 120 Marine 0 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal 0 376 Qui Tam (31 USC
O 130 Miller Act © 315 Airplane Product Product Liability 7 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability 0 367 Health Care/ ©) 400 State Reapportionment
1 150 Recovery of Overpayment (J 320 Assault, Libel & Pharmaceutical _ PROPERTY RIGHTS |<) 10 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights © 430 Banks and Banking
C151 Medicare Act 0 330 Federal Employers’ Product Liability C1 830 Patent 450 Commerce
& 152 Recovery of Defaulted Liability © 368 Asbestos Personal (1 835 Patent - Abbreviated 11 460 Deportation
Student Loans 0 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability O 840 Trademark Corrupt Organizations
© 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR = SOCTAL SECURITY] 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 0 370 Other Fraud 710 Fair Labor Standards GO 861 HIA (1395ff) 0 490 Cable/Sat TV
0 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending Act © 862 Black Lung (923) 0 850 Securities/Commodities/
0 190 Other Contract Product Liability 0 380 Other Personal 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
195 Contract Product Liability | (J 360 Other Personal Property Damage Relations 0 864 SSID Title XVI (XK 890 Other Statutory Actions
0 196 Franchise Injury 0 385 Property Damage 0 740 Railway Labor Act 0 865 RSI (405(g)) © 891 Agricultural Acts
1 362 Personal Injury - Product Liability O 751 Family and Medical ©) 893 Environmental Matters
_ _Medical Malpractice Leave Act 0 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS | 0 790 Other Labor Litigation FEDERAL TAX SUITS: Act |
G 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement GF 870 Taxes (U.S. Plaintiff 0 896 Arbitration |
O 220 Foreclosure 0 441 Voting O 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure |
O 230 Rent Lease & Ejectment 0) 442 Employment 1 510 Motions to Vacate © 871 IRS—Third Party Act/Review or Appeal of
0) 240 Torts to Land CF 443 Housing/ Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability Accommodations 1 530 General 0 950 Constitutionality of
(7 290 All Other Real Property © 445 Amer. w/Disabilities -] 0 535 Death Penalty IMMIGRATION: ~. State Statutes
Employment Other: 0 462 Naturalization Application
O 446 Amer. w/Disabilities -| 540 Mandamus & Other |( 465 Other Immigration
Other 0 550 Civil Rights Actions
©) 448 Education 0 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
{1 Original 112 Removed from O 3 Remanded from 4 Reinstated or © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
21 U.S.C. §§ 801-971 (21 U.S.C. §§ 829, 842, 843, 882)
VI. CAUSE OF ACTION Brief description of cause:
Civil Penalties and Injunctive relief for unlawful prescribing of controlled substances
VII. REQUESTEDIN = 7 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv-P. 0.00 JURY DEMAND: 3 Yes ONo
VUE. RELATED CASE(S)
‘See instructions):
IF ANY ( ” JUDGE i DOCKET NUMBER
DATE A 1G SIGNA OFVATT OF RECORD
no = if A 1TAg
FOR OFFICE USE ONLY a Sf /

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
